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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

PATRICE NELSON, as Personal Representative
of the Estate of Jacqueline Nelson, and
GEORGES MICO NELSON,
                Plaintiffs,
                                                            CASE NO. 1:23-CV-464
v.
                                                            HON. ROBERT J. JONKER
MILLERKNOLL, INC.,

            Defendant.
_____________________________________/

                                            ORDER

                                       INTRODUCTION

       This case is the battle of the bubble lamp, an iconic modern design created by George

Nelson. Mr. Nelson’s heirs allege that MillerKnoll orchestrated and executed a plan to cheat them

out of intellectual property rights that should rightfully be theirs but that MillerKnoll

misappropriated for itself. Plaintiffs sued in the Southern District of New York, and that Court

transferred the matter here. The Second Amended Complaint, (ECF No. 64), is the operative one,

and it includes claims for Fraud and Conspiracy to Commit Fraud (Counts I and II); Unjust

Enrichment (Count III); Lanham Act and Common Law Trademark Infringement and Unfair

Competition (Counts IV and V); and Cancellation of a Bubble Lamp Registration acquired by

MillerKnoll (Count VI). MillerKnoll moves to dismiss. (ECF No. 87). The Court denies that

Motion because Plaintiffs have stated Twombly-plausible claims and established at least a prima

facie case of standing for the trademark claims. The Court’s denial of the Motion to Dismiss is

without prejudice to Defendant’s ability to raise its arguments under FED. R. CIV. P. 56 on a fully

developed record after plenary discovery, which is already underway.
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                                        I. BACKGROUND

       The Second Amended Complaint details a story of operatic scope and drama. According

to Plaintiffs, the scheme started in 2005 when MillerKnoll tried without success to obtain the

bubble lamp rights directly from Mr. Nelson’s widow. When she refused a direct assignment,

Plaintiffs say MillerKnoll strategically ingratiated itself with Mrs. Nelson by setting up the George

Nelson Foundation with the nominal purpose of protecting and honoring Mr. Nelson’s designs, but

with the secret intent of diverting those intellectual property rights to MillerKnoll. Ultimately,

MillerKnoll succeeded in persuading Mrs. Nelson to sign an Intellectual Property Assignment

Agreement in 2013 that assigned the bubble lamp rights to the Foundation. Plaintiffs say Mrs.

Nelson was 93 years old at the time and in a nursing home and without the competence to sign the

agreement, but that none of that deterred MillerKnoll. With the bubble lamp intellectual property

apparently in the Foundation’s hands, Plaintiffs say MillerKnoll next initiated stalking horse

litigation against an unrelated third party that culminated in an assignment of the bubble lamp

rights from the Foundation to MillerKnoll. When Mr. Nelson’s heirs discovered what had

happened, they sued the lawyers who prepared the 2013 assignment. A settlement of that

malpractice litigation purported to unwind the 2013 assignment nunc pro tunc, but by that time,

the stalking horse litigation with the unrelated third party had already resulted in purported transfer

of the bubble lamp rights to MillerKnoll. Hence this litigation.


                                          II. ANALYSIS

       As already noted, the scope and drama of Plaintiffs’ overall claim is operatic. That kind of

claim naturally leads seasoned litigation players to raise a skeptical eyebrow or two. And

ultimately the operatic story line will need evidence sufficient to permit a reasonable fact finder to

find for Plaintiffs and against MillerKnoll. But at this stage of the case, the Court cannot conclude



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that the allegations of the Second Amended Complaint fall short of a Twombly-plausible story, see

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555–56 (2007), or fail to articulate sufficient details to

survive MillerKnoll’s FED. R. CIV. P. 9(b) challenge to the counts asserting claims of fraud. There

is much to fill in, to be sure. But the outlines of the claims are there in black and white and include

some documentary corroboration, too. There is also common-sense plausibility to the allegation

that a person in her 90s who was confined to a nursing home lacked the capacity to understand and

approve a complicated intellectual property assignment, especially after allegedly resisting

proposed assignments for many years. Can plaintiffs ultimately prove all this up, or even provide

sufficient evidentiary support to survive FED. R. CIV. P. 56? The Court does not know, but it is

satisfied that the current allegations of the Second Amended Complaint are sufficient to move the

case past Rule 9(b) and Rule 12 dismissal.

       MillerKnoll raises separate Rule 12 defenses to some of the claims. It contends that the

state law claims are barred by the statute of limitations; that Plaintiffs lack standing to assert the

trademark claims; that a quasi-contract theory cannot co-exist alongside written contracts; and that

orders dismissing other prior Foundation litigation effectively bar this case against MillerKnoll.

But in the Court’s view, each of these possible defenses depend on too many fact-dependent

determinations—as well as some open legal questions—for a Rule 12 dismissal. The Court is not

prepared at this time to definitively rule on what state law will control the state law claims and the

applicable limitations periods. In fact, it is not even clear to the Court that the same State’s law

will necessarily apply to each of the state law claims. Whether Plaintiffs ultimately have standing

for trademark claims will require resolution of both factual and legal issues regarding the 2013

assignment agreement and the later purportedly nunc pro tunc unwinding. As for an unjust

enrichment theory, it may well be that Plaintiffs will eventually have to choose between a theory




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rooted in contract, or one rooted in quasi-contract, but nothing precludes Plaintiffs from keeping

both options open at this early pleading stage of the case. And as for the impact of any prior

dismissal of litigation involving the Foundation, Plaintiffs’ allegation that MillerKnoll and the

Foundation were alter egos for some purposes does not necessarily mean they were alter egos for

all purposes, and Plaintiffs have not alleged they were alter egos for purposes of any prior dismissal

orders. In short, this opera is still in its opening act, and there is a long ways to go before the final

aria.

        ACCORDINGLY, IT IS ORDERED THAT Defendant MillerKnoll’s Motion to Dismiss,

(ECF No. 87), is DENIED. This is, of course, without prejudice to the ability of Defendant to

raise these issues again under FED. R. CIV. P. 56.

        IT IS SO ORDERED.



Dated: February 5, 2024                                  /s/ Robert J. Jonker
                                                        ROBERT J. JONKER
                                                        UNITED STATES DISTRICT JUDGE




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